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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                               Case No.

   AVI SCHOTTENSTIN, and
   EVAN SCHOTTENSTEIN

          Petitioners,

   v.

   WELLS FARGO BANK, N.A.,
   and ALEXIS SCHOTTENSTEIN,

         Respondents.
   _________________________________/

                    PETITION TO ENFORCE ARBITRATION SUBPOENAS

          Petitioners Avi Schottenstein and Evan Schottenstein (collectively referred to as

   “Petitioners”), by and through their undersigned counsel, hereby submit this Petition to Enforce

   Arbitration Subpoenas against Wells Fargo Bank, N.A. (“Wells Fargo”) and Alexis

   Schottenstein (“Ms. Schottenstein”) (Wells Fargo and Ms. Schottenstein are collectively

   referred to herein as “Respondents”). In furtherance of the same, Petitioners respectfully state

   as follows:

                                               PARTIES

          1.      Petitioner Avi Schottenstein is a resident of New York, New York.

          2.      Petitioner Evan Schottenstein is a resident of New York, New York.

          3.      Respondent Wells Fargo is a national banking association with its principal

   address in San Francisco, California.     Wells Fargo conducts business and maintains bank

   branches throughout the State of Florida, including the Southern District of Florida.
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           4.      Respondent Ms. Schottenstein is a resident of New York, New York.               Ms.

   Schottenstein also maintains a Florida limited liability company with its registered agent in the

   State of Florida.

                                      RELEVANT NON-PARTIES

           5.      J.P. Morgan Securities, LLC (“JP Morgan”), is a Delaware limited liability

   company with its principal place of business in New York, New York.

           6.      Beverly B. Schottenstein, individually and as Co-Trustee Under the Beverly B.

   Schottenstein Revocable Trust U/A/D April 5, 2011, as Amended (“Claimant”), is a resident of

   Bal Harbour, Florida.

                                     JURISDICTION AND VENUE

           7.      This is a proceeding to enforce arbitration subpoenas (summonses) arising under

   Section 7 of the Federal Arbitration Act (“FAA”), 9 U.S.C. § 7.

           8.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

   1332 because the parties to the underlying arbitration are citizens of different states and the

   amount in controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

           9       Venue is proper in this judicial district pursuant to 9 U.S.C. § 7 because the

   arbitration will take place before a majority of the arbitrators sitting in this district.

                                 THE UNDERLYING ARBITRATION

           10.     This proceeding arises from an arbitration between Petitioners and their former

   employer, JP Morgan on the one hand, and Claimant on the other hand, styled Beverly B.

   Schottenstein, individually and as Co-Trustee Under the Beverly B. Schottenstein Revocable

   Trust U/A/D April 5, 2011, as Amended v. JP Morgan, et al., FINRA Case No. 19-02053 (the

   “Arbitration”).



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          11.     As set forth in the underlying Arbitration, Claimant purports to allege that

   Petitioners, while employed as financial advisors at JP Morgan, made unauthorized purchases in

   securities in Claimant’s JP Morgan brokerage account. Claimant further alleges that Petitioners

   enrolled Claimant in electronic delivery of monthly account statements and other written

   communications without her consent. Based upon the aforementioned allegations, Claimant

   seeks damages in the Arbitration in excess of $10 Million from Petitioners and JP Morgan.

   Petitioners have denied these allegations and averred that Claimant’s granddaughter, Ms.

   Schottenstein, has stoked this controversy based on dissatisfaction with her treatment in

   Claimant’s estate plan.

                             THE SUBPOENAS TO RESPONDENTS

          A.      Trial Subpoena Directed to Ms. Schottenstein

          12.     Upon information and belief, Ms. Schottenstein helped develop Claimant’s claims

   against JP Morgan and Petitioners, which has resulted in the underlying Arbitration.

          13.     Beginning in 2009 and continuing until 2013, Wells Fargo employed Ms

   Schottenstein in its Largo, Florida bank branch.     Ms. Schottenstein’s job responsibilities at

   Wells Fargo included the enrollment of Wells Fargo clients in online account statement delivery.

   Upon information and belief, Wells Fargo terminated Ms. Schottenstein in 2013 due to numerous

   customers’ complaints that Ms. Schottenstein enrolled their respective Wells Fargo accounts in

   online statement delivery without the customers’ knowledge and/or authorization.

          14.     On or about August 21, 2020, Petitioners filed a Motion for Subpoena for the

   Appearance of Ms. Schottenstein and the Production of Documents Pursuant to the FINRA Code

   of Arbitration Procedure (the “Motion for Schottenstein Trial Subpoena”) (attached hereto as

   Exhibit A). As detailed in the Motion for Schottenstein Trial Subpoena, Petitioners previously



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   sought the production of documents from Ms. Schottenstein through a subpoena executed by the

   Arbitration Chairperson, however Ms. Schottenstein’s Florida counsel object to producing any

   documents prior to a hearing in front of the Arbitrators. See Exhibit A at 9-14.

             15.    On or about September 2, 2020, Claimant filed a letter with FINRA wherein she

   advised the arbitration panel that Claimant did not oppose Petitioner’s Motion for Schottenstein

   Trial Subpoena (attached hereto as Exhibit B).                  In fact, Claimant could not oppose Ms.

   Schottenstein’s trial subpoena because Claimant has identified Ms. Schottenstein (her

   granddaughter) as a witness she intends to call to testify for her at the Final Hearing in this

   matter.

             16.    On or about September 15, 2020, a majority of the Arbitration Panel signed the

   trial subpoena directed to Ms. (“Schottenstein Trial Subpoena”) (attached hereto as Exhibit

   C).1

             17.    On or about October 8, 2020, Petitioners provided the executed Schottenstein

   Trial Subpoena to Ms. Schottenstein’s Florida counsel. Shortly thereafter, Ms. Schottenstein’s

   counsel advised Petitioners that Ms. Schottenstein would not comply with the Schottenstein Trial

   Subpoena.

             B.     Trial Subpoena Directed to Records Custodian of Wells Fargo

             18.    As discussed herein, Petitioners have reason to believe that Wells Fargo

   previously terminated Ms. Schottenstein for engaging in the same conduct Claimant, or Ms.

   Schottenstein on her behalf, alleged against Petitioners in the Arbitration. Indeed, Claimant

   accused Petitioners and JP Morgan of such wrongdoing in a letter from Claimant that Ms.

   Schottenstein delivered to JP Morgan without Claimant’s prior knowledge or authorization.

   1
     While the Arbitration Panel is comprised of three individuals, one of the panelists passed away prior to executing
   the trial subpoenas referenced herein. As such, the remaining two (2) Arbitration Panelists executed the trial
   subpoenas.

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           19.      On or about June 24, 2020, Petitioners filed a Motion for Subpoena for the

   Production of Documents from Wells Fargo Pursuant to the FINRA Code of Arbitration

   Procedure (“Motion for Wells Fargo Production”) (attached hereto as Exhibit D). 2 While

   Claimant opposed the Motion for Wells Fargo Production, on or about July 27, 2020, the

   Arbitration Chairperson deemed the documents Petitioners sought from Wells Fargo were

   relevant to Petitioners’ defenses, and the Arbitration Chairperson executed a Subpoena for

   Production to Wells Fargo (“Wells Fargo Subpoena”) (attached hereto as Exhibit E).

           20.      On or about July 29, 2020, Petitioners served Wells Fargo with the Wells Fargo

   Subpoena through its registered agent in Florida. Shortly thereafter, on or about August 14, 2020,

   Wells Fargo filed its objections to the issuance of the Wells Fargo Subpoena pursuant to the

   FINRA Code of Arbitration Procedure (“Wells Fargo Objections”) (attached hereto as Exhibit

   F). In addition to its argument that the Wells Fargo Subpoena was unenforceable because it was

   beyond FINRA’s jurisdiction, Wells Fargo advanced several other bases in support of the Wells

   Fargo Objections. See Exhibit F.

           21.      On or about August 28, 2020, Petitioners filed their response to the Wells Fargo

   Objections. At that time, Petitioners requested that the Arbitration Panel execute a trial subpoena

   directed to the records custodian of Wells Fargo.                  On or about September 23, 2020, the

   Arbitration Chairperson entered an Order wherein she overruled the Wells Fargo Objections

   (“Order Overruling Wells Fargo Objections”) (attached hereto as Exhibit G).

           22.      On or about September 23, 2020, a majority of the Arbitration Panel executed a

   trial subpoena for the testimony and production of documents from the Wells Fargo records

   custodian (“Wells Fargo Trial Subpoena”) (attached hereto as Exhibit H).

   2
    In accordance with the Confidentiality Stipulation between Petitioners, Claimant and JP Morgan in the Arbitration,
   Petitioners have redacted confidential material disclosed in Exhibit D. Petitioners will promptly provide the Court a
   copy of Exhibit D, without redactions, at the Court’s direction.

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          23.     On or about October 8, 2020, Petitioners provided the executed Wells Fargo Trial

   Subpoena to Wells Fargo’s counsel. Thereafter, Wells Fargo’s counsel advised Petitioners that

   Wells Fargo would not comply with the Wells Fargo Trial Subpoena. However, the Arbitration

   Panel has already rejected and overruled Wells Fargo’s objections to the documents and

   testimony Petitioners seek in connection with the Wells Fargo Trial Subpoena. See Exhibit G.

                                        RELIEF REQUESTED

          24.     The Schottenstein Trial Subpoena and Wells Fargo Trial Subpoena are necessary

   to Petitioners’ defenses in the Arbitration. Indeed, Ms. Schottenstein’s testimony and production

   of documents at the Arbitration is so relevant, the Claimant (and her grandmother) disclosed Ms.

   Schottenstein as a witness.

          25.     With respect to Wells Fargo, the Wells Fargo Trial Subpoena seeks limited

   information that pertains directly to Claimant’s allegations against Petitioners in the underlying

   Arbitration. Such information is both relevant and necessary for Petitioners to establish their

   defenses in the Arbitration, and the Arbitration Panel has already deemed such production of

   documents and testimony sought in the Schottenstein Trial Subpoena and Wells Fargo Trial

   Subpoena as relevant and critical to Petitioners’ defenses in the Arbitration.

          26.     The interests of justice and Section 7 of the FAA necessitate this Court enforcing

   the Schottenstein Trial Subpoena and Wells Fargo Trial Subpoena.




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          WHEREFORE, Petitioners respectfully request that this Court enter an Order:

          A.     Enforcing Compliance with the Schottenstein Trial Subpoena as provided in 9

   U.S.C. § 7;

          B.     Enforcing Compliance with the Wells Fargo Trial Subpoena as provided in 9

   U.S.C. § 7; and

          C.     Granting such other relief as the Court may deem just and proper.

   DATED:        October 19, 2020
                 Coral Gables, Florida

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